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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:19−cr−00474
                                                         Honorable Robert M. Dow Jr.
Yale Schiff, et al.
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, August 17, 2020:


        MINUTE entry before the Honorable Robert M. Dow, Jr. as to Yale Schiff (1) and
Jason Schiff (2): David Izsak, the sole defendant in Case No. 19−cr−582, pending before
Judge Norgle, has filed a motion [43] seeking to consolidate his case with this one. In this
case, the Government has charged two brothers, Yale and Jason Schiff, with fraud. The
indictment against Izsak mentions Yale Schiff, but not Jason Schiff. Izsak maintains that
these two cases should be consolidated on efficiency grounds. Yale Schiff takes no
position on the motion, but both the Government and Jason Schiff oppose it. The
Government points out that the indictments allege different offenses and do not share a
common defendant. Jason Schiff argues that consolidation would be prejudicial to him, as
there is no common plan to tie Jason to Izsak, even if there are allegations common to
Yale and Iszak. On balance, the issue presented in the motion comes down to the
likelihood of greater efficiency for counsel and the Court versus the possibility of
prejudice to a defendant whose case might become more complicated by the addition of
additional allegations of fraudulent conduct that have nothing to do with him. Although
efficiency is an important consideration in an always busy court calendar, the efficiencies
will not be nearly as great as they might be if the cases involved a truly common scheme
among the three defendants, as opposed to a single common player (Yale) with no
apparent ties between the two other defendants. Given the limits to the efficiencies to be
gained by consolidation, the risk of prejudice is a more important consideration and
weighs against consolidation. Therefore, Izsak's motion to consolidate [43] is denied.
Mailed notice (cdh, )




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